OPINION — AG — ** INVESTMENTS — SECURITIES ** (SUBJECT TO YOUR COMPLIANCE WITH ARTICLE XI, SECTION 6 OKLAHOMA CONSTITUTION, AND 64 O.S. 51 [64-51], THAT PREFERENCE SHALL BE GIVEN TO THE SECURITIES NAMED THEREIN IN THE ORDER THEREIN, AND THE PROVISIONS OF 64 O.S. 51 [64-51] THAT SUFFICIENT MONEY SHALL BE KEPT ON HAND AT ALL TIMES BY THE COMMISSIONERS OF THE LAND OFFICE TO CLOSE ALL APPROVED APPLICATIONS FOR FIRST MORTGAGE LOANS, AS MAY BE APPROVED FROM TIME TO TIME BY THE COMMISSIONERS OF THE LAND OFFICE) THE INVESTMENT OF $500,000.00 OF MONEYS BELONGING TO THE `PERMANENT SCHOOL FUND' AND OTHER EDUCATIONAL FUNDS UNDER THE CONTROL OF THE COMMISSIONERS OF THE LAND OFFICE, IN THE UNITED STATES OF AMERICA 3 1/4% TREASURY BONDS, IS WITHIN THE LEGAL AUTHORITY OF THE COMMISSIONERS OF THE LAND OFFICE, AND THAT SUCH BONDS ARE "VALID", WITHIN THE CONTEMPLATION OF 64 O.S. 51 [64-51] (MORTGAGE, COUNTY BONDS, FARM LANDS, INVESTMENTS, SCHOOL DISTRICTS, EDUCATIONAL FUNDS) CITE: ARTICLE XI, SECTION 6, 64 O.S. 51 [64-51] (JAMES C. HARKIN)